                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
Civil Action No. ___________

NANCY MARKS,

       Plaintiff,
v.

COLORADO DEPARTMENT OF CORRECTIONS,
JEFFERSON COUNTY CORRECTIONS BOARD,
INTERVENTION COMMUNITY CORRECTIONS SERVICES,
SUSAN KELLER, Community Parole Officer, Colorado Department of Correction, in her
individual and official capacities;
KRISTIN HEATH, Program Director, Intervention Community Corrections Services, in her
individual and official capacities;
RICK RAEMISCH, Executive Director Colorado Department of Corrections, in his individual
and official capacities,

       Defendants.



                            COMPLAINT AND JURY DEMAND




       Plaintiff, by and through her attorneys, David A. Lane and Nicole B. Godfrey of

KILLMER, LANE & NEWMAN, LLP, hereby brings this Complaint against the Colorado

Department of Corrections (“CDOC”), the Jefferson County Corrections Board (“JCCB”),

Intervention Community Corrections Services (“ICCS”), Susan Keller, and Kristin Heath:

                                      INTRODUCTION

       1.      Nancy Marks is a prisoner in the Denver Women’s Correctional Facility today for

one reason only: she is disabled. Ms. Marks suffers from spinal stenosis, which severely limits
her ability to walk and requires that she use a wheelchair. In November 2012, Ms. Marks was a

model prisoner who dutifully completed her prison programming and had received no serious

disciplinary infractions. As a reward for her exceptionally good behavior, she was accepted into

Colorado’s community corrections program (Comm Corr) by Defendants CDOC, JCCB, and

ICCS. She had much greater freedom in the Comm Corr residential facility than any inmate

experiences in prison, as it is a community living environment and not a prison. Two weeks

after Ms. Marks arrived at the ICCS residential facility in Jefferson County, Colorado, she took a

terrible fall in the facility’s bathroom. This fall further exacerbated her medical condition, which

led her doctor to recommend that she apply for disability benefits. Solely because of her

disability, Defendants CDOC, JCCB, ICCS, Keller, and Heath sent Ms. Marks back to prison,

where she remains today. In the letter sent by Defendant Heath to Defendant Keller, instructing

Ms. Keller to regress Ms. Marks back to prison, Defendants Heath and ICCS state: “…ICCS has

rejected placement for acceptance as her medical condition no longer make her appropriate to

remain in the ICCS residential program.” Thus, only one factor drove Defendants’ decision to

remove Ms. Marks from Colorado’s community corrections program and re-incarcerate her in

the highest-security women’s prison in the state of Colorado: her disability.

       2.      Almost twenty-four years after the enactment of the Americans with Disabilities

Act (“ADA”), CDOC, JCCB, and ICCS discriminate against people with disabilities like Ms.

Marks by summarily rejecting and regressing them from community corrections programs and

by refusing to provide accommodations and modifications to policies, procedures, and practices

that would allow people with disabilities to fully participate in Colorado’s community

corrections programs.


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        3.      On July 26, 1990, then President George H.W. Bush signed the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq., into law, establishing the most important

civil rights law for people with disabilities in our country’s history.

        4.      One of the primary purposes of the ADA is to ensure that people with disabilities

are not excluded from access to programs, services, and activities offered by public entities such

as the CDOC and JCCB solely on the basis of their disability.

        5.      Another primary purpose of the ADA is to ensure that people with disabilities

receive accommodations to participate in the programs, services and activities, offered by public

entities like CDOC and JCCB.

        6.      The ADA also prohibits public accommodations, like the residential program

operated by ICCS in Jefferson County, Colorado, from providing individuals who use

wheelchairs for mobility with separate or unequal benefits or services.

        7.      Section 504 of the Rehabilitation Act of 1973 guarantees that people with

disabilities will not be excluded from participating in any program or activity, solely on the basis

of their disability, by any entity that receives federal financial assistance.

        8.      On information and belief, CDOC, JCCB, and ICCS receive federal funding for

the operation of Colorado’s community corrections programs.


                                  JURISDICTION AND VENUE

        9.      This action arises under the Constitution and laws of the United States, including

Article III, Section 1 of the United States Constitution and 42 U.S.C. § 1983, 29 U.S.C. § 794

and 42 U.S.C. § 12101, et seq. Jurisdiction is conferred on this Court pursuant to 28 U.S.C. §§



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1331 and 1343, 42 U.S.C. § 1988, as amended by the Civil Rights Attorney Fee Award Act of

1976, 29 U.S.C. § 626(c)(1), and 28 U.S.C. §§ 1367(a) and 2201.

       10.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b), as all

of the events giving rise to the claims herein occurred in the District of Colorado.

                                             PARTIES

       11.     Plaintiff Nancy Marks (“Ms. Marks”), at all times relevant to this complaint, is

and was a resident of the State of Colorado and in the custody or supervision of the Colorado

Department of Corrections. Ms. Marks is substantially limited in the major life activity of

walking and uses a manual wheelchair for mobility.

       12.     Defendant Colorado Department of Corrections (“CDOC”) is a department of the

State of Colorado. As such, Defendant CDOC is a public entity as that term is used in title II of

the Americans with Disabilities Act, 42 U.S.C. § 12131 et seq. Defendant CDOC is also a

recipient of federal financial assistance as that term is used in section 504 of the Rehabilitation

Act, 29 U.S.C. § 794. Defendant CDOC is responsible for supervising all persons incarcerated in

Colorado’s prisons, all persons serving a term of parole in Colorado, and all persons referred to

and serving a criminal sentence in the state of Colorado’s community corrections program.

       13.     Defendant Jefferson County Corrections Board (“JCCB”) is a department of

Jefferson County, Colorado. As such, Defendant JCCB is a public entity as that term is used in

title II of the Americans with Disabilities Act, 42 U.S.C. § 12131 et seq. On information and

belief, Defendant JCCB is a recipient of federal financial assistance as that term is used in

section 504 of the Rehabilitation Act, 29 U.S.C. § 794. Defendant JCCB is responsible for

approving or disapproving of all CDOC referrals to and regressions from Colorado’s community


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corrections program in Jefferson County. Defendant JCCB is also responsible for contracting

with community corrections service providers like Defendant Intervention Community

Corrections Services for residential services. Defendant JCCB’s official policies, practices,

and/or procedures caused the deprivation of Plaintiffs’ constitutional rights.

       14.     Defendant Intervention Community Corrections Services (ICCS) is a non-profit

organization incorporated under the laws of the State of Colorado and performing the

traditionally state governmental function of operating a residential rehabilitation program for

former prisoners transitioning back into the community through contractual relationships with

Jefferson County, Colorado, and the State of Colorado. Defendant ICCS’ mission is to provide a

cost-effective alternative to incarceration, in a safe environment, with the aim of reducing

criminal behavior through the provision of supervision and services to the Colorado community.

ICCS operates a residential facility in Jefferson County that has the capacity to house two-

hundred ninety-five (295) persons serving criminal sentences in Colorado’s community

corrections program. As such, the deprivation of Plaintiff’s constitutional rights was caused by a

rule of conduct imposed by the State of Colorado and Jefferson County, Colorado, or persons

for whom the State and County were responsible; the State of Colorado and Jefferson County,

Colorado, exercised coercive power or provided such significant encouragement, either over or

covert, that Defendant ICCS’ actions described herein must in law be deemed to be those of the

State; and the State of Colorado and Jefferson County, Colorado, so far insinuated itself into a

position of interdependence with ICCS that it must be recognized as a joint participant in the

deprivation of Plaintiff’s constitutional rights described herein. On information and belief,




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Defendant ICCS is also a recipient of federal financial assistance as that term is used in section

504 of the Rehabilitation Act, 29 U.S.C. § 794.

       15.     Defendant Susan Keller is a Community Parole Officer in the Colorado

Department of Corrections. On information and belief, Defendant Keller was the Community

Parole Officer responsible for Ms. Marks’ supervision from December 7, 2012 to January 25,

2013 when Ms. Marks was a resident of the ICCS residential facility in Jefferson County,

Colorado. At all times relevant to this complaint, Ms. Keller was acting under color of state law.

Ms. Keller is sued in her official and individual capacities.

       16.     Defendant Kristin Heath is the Program Director of the ICCS residential facility

in Jefferson County, Colorado. Ms. Heath made the decision to regress Ms. Marks from

community corrections back to CDOC because of Ms. Marks’ disability, and this action was

made under color of state law. Ms. Heath is sued in her official and individual capacities.

       17.     Defendant Rick Raemisch is the Executive Director of the Colorado Department

of Corrections. As such, he sets all policies for the DOC. He was personally notified by letter in

April of 2014 that Ms. Marks rights were being violated as outlined in this Complaint, and has

done nothing to stop the ongoing violation of Plaintiff’s constitutional and statutory rights.

                                  FACTUAL ALLEGATIONS

Ms. Marks’ Disability

       18.     In December 2011, in the midst of the criminal trial that led to her incarceration in

the Colorado Department of Corrections, Ms. Marks was in a serious car accident that caused

severe spinal trauma.




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       19.     When Ms. Marks arrived in the custody of Defendant Colorado Department of

Corrections (“CDOC”) in early 2012, she required the assistance of a walker to move around her

assigned facility, the Denver Women’s Correctional Facility (“DWCF”).

       20.     In late April 2012, Ms. Marks was transferred from DWCF to La Vista

Correctional Facility (“LVCF”).

       21.     Over the course of the next several months at La Vista, Ms. Marks’ spinal

condition deteriorated such that it became increasingly difficult for her to move around with only

the walker for assistance.

       22.     On or around September 24, 2012, Defendant CDOC recognized that Ms. Marks

fell into the class of persons with a mobility disability and approved Ms. Marks request for a

wheelchair.

       23.     From September 24, 2012 to December 7, 2012, Ms. Marks was able to use either

her walker or wheelchair to move around LVCF. Ms. Marks used her walker for shorter

distances and used her wheelchair for longer distances.

       24.     On December 7, 2012, Ms. Marks entered Defendant Intervention Community

Corrections Services (“ICCS”) residential program. For the first several weeks in the program,

Ms. Marks used her walker to move around the facility.

       25.     Due to injuries sustained after falling at Defendant ICCS’ Jefferson County

residential facility on December 22, 2012, Ms. Marks conditions began and continues to

deteriorate such that she requires the use of a wheelchair at all times.


Colorado’s Community Corrections Program



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       26.     The Colorado legislature has created a system whereby Defendant CDOC works

with local units of government to establish and maintain community corrections programs that

allow prisoners sentenced to a term of imprisonment in CDOC to serve all or part of that term in

community-based correctional programs outside of the prison walls, see C.R.S. § 17-27-101, et

seq.

       27.     Defendant’s CDOC regulations require that prisoners who have not been

convicted of a violent offense to be electronically referred by their case manager to “Adult

Parole and Community Corrections” nineteen (19) months prior to their estimated Parole

Eligibility Date (“PED”), so long as the prisoner has demonstrated acceptable institutional

behavior.

       28.     A prisoner’s case manager is responsible for submitting a prisoner’s community

corrections referral electronically via a “Community Release Form.” Two weeks prior to

submitting the community corrections referral, a prisoner’s case manager must provide the

prisoner a form that allows the prisoner to submit a letter to the community corrections board.

The prisoner’s letter must be scanned and e-mailed to the Adult Parole and Community

Corrections referral coordinator at the time the referral is submitted.

       29.     Once the referral coordinator receives the referral, it is her responsibility to

forward it to the appropriate community corrections board or community corrections center. The

appropriate board or center is determined by the prisoner’s intended parole destination, whether

the prisoner qualifies for specialized programs, and whether another board or center has greater

available bed space. Defendant Jefferson County Corrections Board (“JCCB”) is responsible for




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accepting or denying a prisoner’s placement in community corrections in Jefferson County,

Colorado.

       30.     Once a community corrections board or center receives a referral, it is responsible

for reviewing the “Community Release Form” and the prisoner’s letter. Upon review, the

community corrections board or center will make a decision to accept or deny the prisoner’s

placement in community corrections.

       31.     If a prisoner’s community corrections referral is rejected, the prisoner can be re-

referred every six months at the discretion of the prisoner’s case manager if six months have

passed since the most recent prior referral, the prisoner continues to display acceptable

institutional behavior, and the prisoner has demonstrated “significant changes.” Defendant

CDOC defines “significant changes” in its Administrative Regulation 250-03, Community

Corrections Referral and Placement Process, as those that “could include accepted into a

[C]DOC recommended specialized program, participation or completion of a program, or any

other change that could improve the [prisoner’s] chance of acceptance into a community

placement facility.”

       32.     A person who is accepted into a community corrections program remains under

the supervision of the Colorado Department of Corrections. Each person in community

corrections is assigned a community parole officer, who is responsible for that person’s

supervision in the community, including responding to any attempted escape or other critical

incident, making arrest, administering disciplinary procedures, and removing that person from

the community, if necessary.




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       33.     Under Colorado law, C.R.S. §17-27-104(5), if a prisoner is accepted into a

community corrections program and then subsequently regressed back to prison, the community

corrections program shall provide an administrative review process for the regression if the

referring agency does not provide such a process. Defendant CDOC’s administrative review

process is not available for classification decisions, including a prisoner’s placement and

retention in a community corrections program.

       34.     Upon information and belief, Defendants JCCB and ICCS do not have an

established administrative review process that notifies persons being regressed from ICCS and

JCCB back to prison of the reasons for the regression, nor do Defendant JCCB and ICCS provide

persons being regressed an opportunity to challenge the regression.

       35.     If a prisoner is accepted into a community corrections program and then

subsequently regressed back into prison, the prisoner can be re-referred to community

corrections at the case manager’s discretion so long as three months has passed and the prisoner

maintains good institutional behavior.


Ms. Marks’ Placement in and Regression from Community Corrections


       36.     In approximately September 2012, Defendant CDOC referred Ms. Marks for

placement in community corrections.

       37.     On November 29, 2012, Defendants ICCS and JCCB accepted Ms. Marks for

placement in the ICCS residential program in Jefferson County, Colorado.

       38.     Ms. Marks was transferred out of prison and into the ICCS residential program on

December 7, 2012.



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       39.        From December 7, 2012 to December 22, 2012, Ms. Marks used her walker to

assist her movements around Defendant ICCS’ facility.

       40.        On December 22, 2012, Ms. Marks’ fell in the bathroom of the ICCS’ facility.

Ms. Marks had been using her walker to move across the bathroom when she encountered a large

puddle of water in the middle of the bathroom floor. When she reached the puddle, Ms. Marks’

walker slipped out from her control. Without her walker, Ms. Marks was unable to hold herself

up, and she slipped and fell, causing further pain in her back. Ms. Marks’ was taken from

Defendant ICCS’ facility to St. Anthony’s Hospital via ambulance.

       41.        When Ms. Marks arrived at ICCS, she was in tremendous pain, and she requested

to visit her doctor in Denver. Ms. Marks was initially told by Defendant ICCS’ staff that she

could visit the doctor only by bus or taxicab and that no family member could transport her to

her doctor’s office. Eventually, Defendant ICCS’ staff relented and permitted a family member

to drive her to see her doctor at Rocky Mountain Medical & Health Care.

       42.        After this initial doctor’s visit, Ms. Marks’ doctor ordered a number of tests

designed to assist him in formulating a treatment plan to restore some of Ms. Marks’ mobility.

Defendant ICCS’ staff repeatedly refused to allow Ms. Marks to return to her doctor for these

follow-up appointments and repeatedly denied receiving the faxed instructions from the doctor to

ICCS regarding his directives that Ms. Marks be confined to bed rest and do no heavy lifting or

physical labor.

       43.        Throughout her stay at Defendant ICCS’ residential facility, Ms. Marks was

provided no reasonable accommodations to allow her to fulfill the program requirements and

access the full benefits of the community corrections program. Instead, she was required to stand


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and walk, use the elevator, and wait in line, three times a day, for medications, all against

medical advice. She was also not permitted to have the medical mattress her doctor ordered.

       44.     Ms. Marks was also repeatedly threatened by Defendant ICCS’ staff that she

would be regressed to Defendant CDOC prisons if she did not contravene medical orders and

obtain immediate employment.

       45.     Defendant ICCS’ staff, including Defendant Heath, further advised her that if she

sought disability benefits, as her doctor recommended that she do, she would be immediately

regressed back to Defendant CDOC prisons.

       46.     In mid-to-late January 2013, Ms. Marks received an offer of employment with

Phase 5, Inc. in Boulder, Colorado. This job offer would have allowed Ms. Marks to work in an

office answering phones and performing administrative tasks that would not require Ms. Marks

to be on her feet all day, thus accommodating her disability.

       47.     On January 23, 2013, Defendant Kristin Heath, Program Director for Defendant

ICCS, received a letter from Ms. Marks’ medical provider indicating that Ms. Marks must be

placed on bed rest and advising that she apply for disability benefits.

       48.     Upon receipt of this letter, Defendants Heath and ICCS immediately decided to

send Ms. Marks back to prison. Defendant Heath wrote a letter to Defendant Keller, Ms. Marks’

Community Parole Officer, listing Ms. Marks’ disability and inability to do physical activity as

the reason for her regression. Defendants Heath and ICCS determined that Ms. Marks would not

be able to obtain employment because of her disability and medical conditions.

       49.     In this letter, Defendants Heath and ICCS told Defendant Keller the following:

               On January 23, 2013, ICCS received medical documentation indicating she is to
               be on bed rest indefinitely and advising that she should apply for disability

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                  benefits. Six of the eleven Conditions of Placement require physical activity on
                  the part of the client: one of the more important conditions is that she is employed
                  at a phone location. [Ms.] Marks’ medical conditions make it apparent that she
                  will not be able to obtain employment in the foreseeable future, as is required by
                  the ICCS residential program. Pursuant to C.R.S. 17-27-104(5), ICCS has rejected
                  placement after acceptance as her medical conditions no longer make her
                  appropriate to remain in the ICCS residential program.

        50.       Upon information and belief, Defendant JCCB approved the decision of

Defendants Heath and ICCS.

        51.       Upon information and belief, Defendants Keller and CDOC did not take any steps

to ensure that Ms. Marks not be returned to prison solely because of her disability. In fact,

Defendants Keller and CDOC did just the opposite: they sent her back to prison solely because

of her disability.

        52.       Upon information and belief, Defendants Heath and ICCS disregarded Ms.

Marks’ representation that she received a job offer from Phase 5, Inc. when they regressed her

back to prison.

        53.       Ms. Marks was told of her regression back to prison on January 25, 2013, when

two sheriff’s deputies from the Jefferson County Sheriff’s Office arrived at Defendant ICCS’

residential facility to arrest her and bring her back to prison.

        54.       Upon information and belief, Defendants Keller and CDOC effectuated Ms.

Marks’ January 25, 2013 arrest pursuant to their duty to maintain supervision over persons

placed into community corrections from a CDOC facility.

        55.       By January 29, 2013, Ms. Marks was re-incarcerated at DWCF, where she

remains today.




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       56.     Ms. Marks was given no notice of the reasons for her regression, and she was

afforded no opportunity to challenge her regression.


Ms. Marks Re-Incarceration in CDOC


       57.     In the 16-months since Ms. Marks has been re-incarcerated at DWCF, her medical

conditions have rapidly deteriorated. She is not receiving physical therapy, and she must use a

wheelchair at all times.

       58.     Because Ms. Marks is confined to a wheelchair, she is given the assistance of an

“Offender Care Aide,” or “OCA.” On December 20, 2013, Ms. Marks’ then-OCA, a convicted

sex offender, inappropriately touched her neck, back and breast in a sexual manner. Ms. Marks

reported this behavior, and she now has a new OCA. On information and belief, her prior-OCA

was never punished for inappropriately touching Ms. Marks.

       59.     In the past 16-months, Ms. Marks has repeatedly requested that her CDOC case

manager re-refer her for community corrections. Upon information and belief, Ms. Marks’

CDOC case manager has repeatedly denied her request for a new referral to community

corrections, despite that Ms. Marks continues to meet the criteria for community corrections

placement.

       60.     On April 21, 2014, undersigned counsel David A. Lane sent a letter to Defendant

CDOC’s Executive Director, Rick Raemisch, informing Defendant CDOC that Ms. Marks’

regression was in violation of her rights under the Americans with Disabilities Act and

requesting that Ms. Marks immediately be placed back in Colorado’s community corrections




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program. To date, neither Mr. Raemisch nor anyone from Defendant CDOC has responded to

that letter or taken any other action in response thereto.

        61.       On April 24, 2014, CDOC Case Manager Traxler, the head of all CDOC case

managers at DWCF, arrived at Ms. Marks’ cell door and ordered her to sign a request for special

needs parole and to write a letter explaining why she needed special needs parole. On May 12,

2014, Ms. Marks’ case manager, Case Manager S. Risner, informed Ms. Marks that her special

needs parole request had been denied.

        62.       Since Mr. Lane sent his letter on behalf of Ms. Marks to Defendant CDOC,

Defendant CDOC staff members have been retaliating against Ms. Marks by instructing her not

to file grievances and denying all of her pain medication.

        63.       Upon information and belief, Defendants CDOC, JCCB, and ICCS are refusing to

re-refer and re-accept Ms. Marks into Colorado’s community corrections program solely on the

basis of her disability.


                                       CLAIMS FOR RELIEF

                             FIRST CLAIM FOR RELIEF
                  (Violations of Section 504 of the Rehabilitation Act)
(Against Defendants CDOC, JCCB, ICCS, and All Individually Named Defendants in their
                                   Official Capacities)

        64.       Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.

        65.       Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794(a), provides in

pertinent part:

                  No otherwise qualified individual with a disability in the United States, as defined
                  in section 706(8) of this title, shall, solely by reason of her or his disability, be

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                excluded from the participation in, be denied benefits of, or be subjected to
                discrimination under any program or activity receiving Federal financial
                assistance.

          66.   Defendants have discriminated against Plaintiff Marks on the basis of disability in

violation of 29 U.S.C. § 794 and its implementing regulations as more fully described above.

Such discrimination includes but is not limited to failure to provide reasonable modifications and

accommodations to complete the community corrections program, the regression and exclusion

of Plaintiff Marks from the community corrections program, and the failure to re-refer and re-

accept Plaintiff Marks into the community corrections program, all solely on the basis of

disability.

          67.   Defendants have acted with deliberate indifference to the strong likelihood that

pursuit of Defendant CDOC’s, JCCB’s, and ICCS’ questioned policies, and failure to provide

accommodations and modifications, would likely result in a violation of federally protected

rights.

          68.   Ms. Marks is an individual with a disability within the meaning of the

Rehabiliation Act of 1973.

          69.   Ms. Marks was qualified to participate in the services, programs, activities, and

benefits provided to prisoners in the community corrections program at ICCS’ residential facility

in Jefferson County, Colorado, within the meaning of the Rehabiliation Act of 1973.

          70.   CDOC, JCCB, and ICCS receive and benefit from federal financial assistance as

that term is used in 29 U.S.C. § 794.

          71.   CDOC, JCCB, and ICCS denied and are continuing to deny Ms. Marks access to

programs, benefits and services provided to other prisoners and persons in the community


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corrections program solely on the basis of her disability and for which she was qualified to

participate, thereby violating the Rehabilitation Act of 1973.

        72.        The Defendants excluded Ms. Marks from participation in their services,

programs and activities, and have denied them the rights and benefits accorded to other prisoners

and detainees, solely by reason of their disabilities in violation of Section 504. In addition,

Defendants have violated Section 504 by intentionally failing or refusing to provide reasonable

accommodations and modifications to their policies, practices, and procedures, to allow Ms.

Marks the ability to fully participate in the community corrections program.

        73.        Despite the clear provisions of the Rehabiliation Act of 1973, the Defendants

persisted in imposing conditions and practices which discriminate against Ms. Marks and other

persons who are disabled.

        74.        As a direct and proximate result of the acts, omissions, and violations alleged

above, Plaintiff has suffered damages, physical injuries, including but not limited to deterioration

of her spinal condition, pain and suffering, inconvenience, emotional distress, and impairment of

quality of life.

        75.        Plaintiff has been injured and aggrieved by and will continue to be injured and

aggrieved by Defendants’ discrimination.

                              SECOND CLAIM FOR RELIEF
                (Violation of Title II of the Americans with Disabilities Act)
         (Against Defendants CDOC, JCCB, and Keller in their Official Capacities)

        76.        Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.




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       77.     The Americans with Disabilities Act (hereinafter referred to as the “ADA”), 42

U.S.C. §§ 12101 et seq., and specifically 42 U.S.C. §§ 12131-12134, prohibits discrimination in

public services on the basis of disability. 42 U.S.C. § 12132 provides:

               Subject the provisions of this subchapter, no qualified individual with a disability
               shall, by reason of such disability, be excluded from participation in or be denied
               the benefits of the services, programs, or activities of a public entity, or be
               subjected to discrimination by any such entity.

       78.     The ADA defines a “public entity” to include any state or local government or

any department, agency, special purpose district, or other instrumentality of a State or local

government, 42 U.S.C. § 12131(1). CDOC and JCCB each are a “public entity” within the

meaning of the ADA.

       79.     Ms. Marks has a physical impairment that substantially limits one or more of her

major life activities, and, thus, she is an individual with disabilities within the meaning of the

ADA, 42 U.S.C. § 12102(2).

       80.     Ms. Marks, with or without reasonable modifications to rules, policies or

practices, met the essential eligibility requirements for the receipt of services or the participation

in programs or activities provided by the Defendants. Thus, Ms. Marks was a “qualified

individual with disabilities” within the meaning of the ADA, 42 U.S.C. § 12131(2).

       81.     The Defendants excluded Ms. Marks from participation in their services,

programs and activities, and have denied her the rights and benefits accorded to other prisoners

and residents of the community corrections program, solely by reason of her disability in

violation of the ADA. In addition, Defendants have violated the ADA by intentionally failing or

refusing to provide reasonable accommodations and modifications to policies, practices and

procedures to Ms. Marks and other persons with disabilities.

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        82.        The Defendants have willfully disregarded their duties under the ADA and have

knowingly allowed unlawful conditions and practices to continue in the community corrections

program for prolonged and unreasonable periods of time.

        83.        Despite the clear provisions of the ADA, the Defendants persist in imposing

conditions and practices that discriminate against Ms. Marks and other persons with disabilities.

        84.        As a direct and proximate result of the acts, omissions, and violations alleged

above, Plaintiff has suffered damages, physical injuries, including but not limited to deterioration

of her spinal condition, pain and suffering, inconvenience, emotional distress, and impairment of

quality of life.

                                   THIRD CLAIM FOR RELIEF
                    (Violation of Title III of the Americans with Disabilities Act)
                                      (Against Defendant ICCS)

        85.        Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.

        86.        ICCS residential facility in Jefferson County, Colorado, is a place of public

accommodation under 42 U.S.C. § 12181(7)(e).

        87.        Defendant ICCS is required to provide individuals who use wheelchairs full and

equal enjoyment of their facility. 42 U.S.C. § 12182(a).

        88.        Defendant ICCS is prohibited from denying individuals in wheelchairs the

opportunity to participate in the programs at their facility. 42 U.S.C. § 12182(b)(1)(A)(i).

        89.        Defendant ICCS is prohibited from enacting standards, criteria, or methods of

administration that have the effect of discriminating against individuals with a disability. 42

U.S.C. § 12182(b)(1)(D).


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       90.     Defendant ICCS is prohibited from imposing eligibility criteria that have the

effect of screening out persons with disabilities. 42 U.S.C. § 12182(b)(2)(A)(i).

       91.     Defendant ICCS is required to make reasonable modifications to its policies,

practices and procedures to ensure the full participation of persons with disabilities. 42. U.S.C. §

12182(b)(2)(A)(ii).

       92.     Defendant ICCS’s violation of Title III of the ADA includes but is not limited to:

failure to provide individuals who use wheelchairs the full and equal enjoyment of their

residential facility in Jefferson County, Colorado, because of their requirement that any resident

engage in physical activity that individuals in wheelchairs are unable to meet; failure to provide

individuals who use wheelchairs the ability to participate in all programs offered by ICCS;

effectuation and implementation of standards, criteria, and methods of administration of their

programs that discriminate against individuals in wheelchairs; imposition of eligibility criteria

for ICCS programs that screen out individuals with disabilities, including individuals in

wheelchairs; and failure to make reasonable modifications to ICCS policies, practices and

procedures to afford individuals in wheelchairs, like Ms. Marks, the full and fair opportunity to

participate in ICCS programs.

       93.     Defendant ICCS has unlawfully discriminated against Ms. Marks and other

persons with mobility disabilities and will continue to discriminate against Ms. Marks and other

persons with mobility disabilities unless this Court enters an injunction prohibiting such

discrimination.

       94.     Ms. Marks was damaged by Defendant ICCS’ discrimination and will continue to

be damaged by ICCS’ discrimination unless this Court orders them to comply.


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                              FOURTH CLAIM FOR RELIEF
       (42 U.S.C. § 1983 – Violation of Fourteenth Amendment – Due Process of Law)
       (Against All Individual Defendants in their Individual and Official Capacities)

       95.      Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.

       96.      Plaintiff has liberty interest in her placement in community corrections as such

placement removes Plaintiff from prison, allows her to freely move about in the community, and

requires an administrative review process under Colorado law, C.R.S. 17-27-104(5).

       97.      Under the Fourteenth Amendment to the United States Constitution, Ms. Marks

may not be deprived of this liberty interest without due process of law.

       98.      Defendants Keller and Heath violated Ms. Marks right to due process by failing to

provide her notice of the reasons for her regression and by failing to afford her an opportunity to

contest the regression.

       99.      Plaintiff Marks had no opportunity to ensure that Defendants were considering the

entirety of her record, including her job offer and the accommodations necessary due to her

medical conditions.

       100.     As a direct and proximate result of Defendants failure to provide Ms. Marks with

sufficient process when regressing her back to prison, Plaintiff has suffered damages, physical

injuries, including but not limited to deterioration of her spinal condition, pain and suffering,

inconvenience, emotional distress, and impairment of quality of life.

                               FIFTH CLAIM FOR RELIEF
        (42 U.S.C. § 1983 – Violation of Fourteenth Amendment – Equal Protection)
       (Against All Individual Defendants in their Individual and Official Capacities)




                                                 21
        101.       Plaintiff hereby incorporates all other paragraphs in the Complaint as if fully set

forth herein.

        102.       Ms. Marks is disabled.

        103.       Defendants Keller and Heath regressed Ms. Marks from the ICCS residential

program back to prison solely on the basis of Ms. Mark’s disability.

        104.       Defendants Keller and Heath discriminated against Ms. Marks because of her

disability.

        105.       Defendants Keller and Heath provided no legitimate governmental purpose for

discriminating against Ms. Marks.

        106.       Defendants’ purported reason for regressing Ms. Marks was that she could not

obtain employment, but Ms. Marks had received a job offer and was able to work.

        107.       As a direct and proximate result of Defendants discriminatory treatment, Ms.

Marks has suffered damages, physical injuries, including but not limited to deterioration of her

spinal condition, pain and suffering, inconvenience, emotional distress, and impairment of

quality of life.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in their

favor and against Defendants, and grant:

        (a)        That this Court assume jurisdiction;

        (b)        That This Court enter judgment in Plaintiff’s favor and against Defendants, jointly

                   and severally;




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(c)   That this Court declare the actions of Defendants described in this Complaint to

      be in violation of Titles II and III of the Americans with Disabilities Act, Section

      504 of the Rehabiliation Act, and the Constitution;

(d)   That this Court enter an injunction ordering Defendants to cease discrimination on

      the basis of disability in the administration of the community corrections

      program;

(e)   That the Court enter an injunction ordering Defendant CDOC to deliver Plaintiff

      back into the custody of ICCS;

(f)   That the Court enter an injunction ordering Defendants JCCB and ICCS to

      provide reasonable accommodations for Plaintiff’s disability to allow her to enjoy

      the benefits of the community corrections program;

(g)   That this Court award Plaintiff compensatory damages were permitted by law;

(h)   That this Court award Plaintiff appropriate relief at law and equity;

(i)   That this Court grant declaratory judgment against the individually named

      Defendants in their official capacities and against the named entities,

      compensatory and consequential damages, including but not limited to damages

      for emotional distress, humiliation, loss of enjoyment of life, and other pain and

      suffering all claims by law in the amounts to be determined at trail against all

      Defendants, as allowed by law;

(j)   That this Court award Plaintiff punitive damages against individuals in their

      individual capacities on all federal claims allowed by law and in an amount to be

      determined at trial;


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(k)    That this Court award Plaintiff all damages allowed at law;

(l)    That this Court award attorneys’ fees and costs of this action, including expert

       witness fees, on all claims allowed by law;

(m)    That this Court award pre-judgment and post-judgment interest at the lawful rate;

       and

(n)    That this Court award such additional or alternative relief as may be just, proper

       and equitable.

PLAINTIFF REQUESTS A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

Dated this 4th day of June, 2014.

                                     KILLMER, LANE & NEWMAN, LLP

                                     _s/ David A. Lane________________
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